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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND

LESLIE RANKINS,                                       CASE NO. 8:18-cv-01483-GJH

                 Plaintiff,                           Judge: Hon. George J. Hazel
vs.

WELLS FARGO BANK, N.A.

                 Defendant.



      DEFENDANT WELLS FARGO BANK, N.A.'S STATEMENT REGARDING THE
             COURT’S STANDING ORDER CONCERNING REMOVAL


        Pursuant to the Court’s Standing Order Concerning Removal filed May 24, 2018

(“Order”), Defendant Wells Fargo Bank, N.A. (“Wells Fargo”) hereby responds to the Order

within fourteen (14) calendar days of its filing of the Notice of Removal on May 23, 2018.

        1.       Wells Fargo was served with a copy of the summons and complaint for the action

commenced in the Circuit Court for Charles County, Maryland, case number C-08-CV-18-

00399, on April 27, 2018.

        2.       This matter was removed to this Court predicated on federal question jurisdiction,

not diversity jurisdiction.

        3.       This matter was not removed to this Court more than thirty (30) days after Wells

Fargo was first served with a copy of the summons and complaint.

        4.       This matter was removed to this Court predicated on federal question jurisdiction,

not diversity jurisdiction.

        5.       Wells Fargo is the only defendant in this matter at this time. As such, there are no

other defendants who could have joined in Wells Fargo’s Notice of Removal.


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       Please take notice that to the best of Wells Fargo’s understanding, counsel of record for

Plaintiff, Ingmar Bancroft Goldson, was served a copy of the Order electronically through this

Court’s CM/ECF on May 24, 2018.

       Please take notice that Wells Fargo filed a disclosure as described in Local Rule 103.3

(D. Md.) at the time it filed its Notice of Removal on May 23, 2018.

       Respectfully submitted this 6th day of June, 2018.

                                            /s/ Joshua Anderson
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                                            Wells Fargo Bank, N.A.




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                               CERTIFICATE OF SERVICE

      I hereby certify that on this 6th day of June, 2018, I have served a copy of the foregoing
document DEFENDANT WELLS FARGO BANK, N.A.'S STATEMENT REGARDING
THE COURT’S STANDING ORDER CONCERNING REMOVAL via the Court’s
CM/ECF system on the following:
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                                 The Goldson Law Office, LLC
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                                     Attorneys for Plaintiff
                                         Leslie Rankins



                                            /s/ Joshua Anderson
                                            Joshua Anderson




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